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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION


 CINDI J. BENTLEY, Individually and as
 President of MTPI,
                           Plaintiff,                   CIVIL ACTION FILE
 vs.                                                    NO. 1:10-cv-1697-RLV
 BRIAN P. HILTON,
                           Defendant.

                                        JUDGMENT

       This action having come before the court, the Honorable Robert L. Vining, Jr., United

States District Judge, for consideration of the defendant’s motions to dismiss, and the court

having granted it, it is

       Ordered and Adjudged that the action be DISMISSED.

       Dated at Atlanta, Georgia, this 24th day of June, 2013.


                                                         JAMES N. HATTEN
                                                         CLERK OF COURT


                                                  By:    s/Jill Ayers
                                                         Deputy Clerk
Prepared, Filed, and Entered
in the Clerk's Office
June 24, 2013
James N. Hatten
Clerk of Court

By:    s/Jill Ayers
       Deputy Clerk
